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                          IN THE UNITED STATES DISTRICT COURT 

 2
                       FOR THE DISTRICT OF SOUTH CAROLINA 

                                  CHARLESTON DIVISION 

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       Louis C. Sanfilippo, M.D., an                           2:17-CV-183-RMG-BM
                                                      Case No. -  ------
 7 
 individual,

 8
                         Plaintiff,
                                                      LOUIS C. SANFILIPPO, M.D.'S
                     v.                               PRO SE COMPLAINT
 9

10     Timothy David Brewerton, M.D., an
       individual,                                    (DEMAND FOR JURy TRIAL)
11 

                            Defendant.
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             The Plaintiff, Louis C. Sanfilippo, M.D. ("Plaintiff'), herein files this Complaint
17 
 against Defendant Timothy David Brewerton, M.D. ("Brewerton"), and would allege

18 
 and show as follows:

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                                   JURISDICTION AND VENUE

20
             1.      This Court has subject matter jurisdiction over the claims herein under 28 

21 
 U.S.C. § 1332(a)(1), which provides for "original jurisdiction of all civil actions where

22 
 the matter in controversy exceeds the sum or value of $75,000 ... and is between ...
23 
 citizens of different States." Here, the amount in controversy is at least $300,000,000
24 
 ($300 Million) as explained further herein.

25
             2.      This Court has personal jurisdiction because Defendant Brewerton resides
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 in South Carolina, and has incurred the liability complained of herein in South Carolina.

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              3.     Venue is proper in this Judicial District under 28 U.S.c. § 1391 (b).

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                                               PARTIES 


2           4.     Plaintiff resides in and is a citizen of the State of New Jersey.
3           5.     Upon information and belief, Defendant Brewerton resides in and is a
4    citizen of the State of South Carolina.

 5                                 GENERAL ALLEGATIONS

 6          6.     U.S. Patent 8,318,813 (see Exhibit 1 attached hereto), which claims an
 7   invention priority date of September 13, 2007 and was issued by the United States
 8 Patent and Trademark Office on November 27,2012, claims methods for the treatment
 9   of Binge Eating Disorder as defined in the DSM-IV-TR with the drug lisdexamfetamine
10   dimesylate (i.e., Vyvanse®). The patent's lone inventor is the Plaintiff.
11          7.     On May 9, 2014, a Petition for an Inter Partes Review for U.S. Patent
12   8,318,8l3 Under 35 U.S.C. §§ 311-319 and 37 C.F.R. §§ 42.1-.80, 42.100-.123 (see
13   Exhibit 2 attached hereto), made by Shire Development LLC, was provided to the
14 patent's then-owner LCS Group, LLC by serving the law firm Cantor Colburn LLP (see
15   page 71, last page, of Exhibit 2).
16          8.     Shire's Inter Partes Review Petition relied completely and exclusively on
17   a Declaration by Defendant Brewerton, which he signed on May 8, 2014 (see Exhibit 3
18   attached hereto; signature line on page 101).
19          9.     Four highly substantiated, evidence-based documents (see Exhibits 4, 5, 6
20   and 7 attached hereto) contextualize and representationally profile Defendant
21   Brewerton's Declaration, and thereby the Petition which exclusively relied on it, in view
22   of the medical literature on eating disorders, obesity and stimulant drugs, including
23   profiling Defendant Brewerton's Declaration representations against his own published
24   work related to the diagnosis and treatment of eating disorders. Each of these four
25   evidence-based documents discloses and explains the Defendant's extensive use of
26   misleading statements and egregious misrepresentations of the medical literature
27   (including for their "line of reasoning"), as well as characterizes and explains the
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     Defendant's extensive omission of materially relevant and important information
2 (including from his own publications), in concluding that all the claims of U.S. Patent
 3 No. 8,318,813 would have been "obvious" to a Person of Ordinary Skill in the Art as of
4 September 13, 2007 and therefore should all be invalid. One particularly focused
 5 contextualization and profile of the Defendant Brewerton and his Declaration can be
 6 found on pages 46-171 of Exhibit 4 in the section titled "EXAMPLE 7: 'Profiling the
 7 Declarant and his Declaration. '"
 8            10. Two published medical articles immediately preceding U.S. Patent No.
 9 8,318,813 's priority date of September 13, 2007 (see Exhibits 8 and 9 attached hereto,
10 respectively, Surman et. al. published March 2006 and Biederman et. al. published in
11   August 2007) demonstrate that Defendant Brewerton egregiously misrepresented key
12   case studies (for their proper medical context and implications) on which the Patent
13   Trial & Appeal Board relied to institute, and to proceed with, a trial regarding the patent
14 (see pages 19-26 of Patent Board's Decision, in particular pages 20-21, of Exhibit 10
15   attached hereto).   The specific nature by which Defendant misrepresented the proper
16 medical context of these studies and their implications, in direct contradiction to their
17 actual significance, context and implications, is extensively characterized in Exhibit 4
18   (see pages 13-20,84-89,102-105, 164-165), as well as in Exhibit 6 (see pages 10-16)
19   and Exhibit 7 (see pages 17-18 or 12-13 ofthe "Supplemental Information," Point No.
20   2; see pages 22-23 or 17-18 of the "Supplemental Information," Point No.2; see pages
21   32-35 or 27-30 of the "Supplemental Information"; see page 46 or 41 of the
22   "Supplemental Information"; see pages 49-50 or 44-45 of the "Supplemental
23   Information"). As characterized in those Exhibits and further below in paragraph 17,
24   Defendant Brewerton appears to have "plagiarized" these cases from Surman's 2006
25   study, except that he misrepresented their proper context, significance and implications
26 to the Patent Board, and omitted materially important and relevant information from his
27   own published work that would have cast proper light on them.
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2                           FIRST CLAIM FOR RELIEF-FRAUD
3           11.    Plaintiff re-alleges all prior paragraphs of this Complaint and incorporates
4 them herein by reference.
5           12.    Defendant made numerous false representations regarding relevant and
6 important teachings in the medical literature related to the validity of the Plaintiff's
7    invention, including at least the following: (a) that a Person of Ordinary Skill in the Art
 8 ("POSA," as defined in Defendant's Declaration, see Exhibit 3, page 19, Paragraphs 27
9 and 28) "as of September 2007" would have regarded it acceptable to treat Bulimia
10   Nervosa (or its symptom of binge eating thereof) with a psychostimulant drug (as used
11   to treat Attention Deficit Hyperactivity Disorder), such as lisdexamfetamine dimesylate,
12   as explained for its falsity in Exhibits 4,5, 6 and 7 though particularly in the Exhibits
13   and their referenced pages aforementioned in paragraph 10 above, including Exhibits 8
14 and 9; (b) that a Person of Ordinary Skill in the Art "as of September 2007" would have
15   regarded stimulant drugs (as used to treat Attention Deficit Hyperactivity Disorder),
16 such as lisdexamfetamine dimesylate, to have a reasonable expectation of success
17   (including safety) in treating Bulimia Nervosa, such that it would have been obvious to
18   use a stimulant drug such as lisdexamfetamine dimesylate for the treatment of Bulimia
19   Nervosa with a reasonable expectation of success, as explained for its falsity in Exhibits
20   4,5,6 and 7 though particularly in the Exhibits and their referenced pages
21   aforementioned in paragraph 10 above, including Exhibits 8 and 9; (c) that a Person of
22   Ordinary Skill in the Art "as of September 2007" would have regarded it acceptable to
23   treat Obesity with a psychostimulant drug (as used to treat Attention Deficit
24   Hyperactivity Disorder), especially lisdexamfetamine dimesylate, as explained for its
25   falsity in Exhibits 4,5,6 and 7 though partiCUlarly in Exhibit 4 (see pages 10-13),
26   Exhibit 5 (see pages 1-20), Exhibit 6 (see pages 1-10), Exhibit 7 (see page 6 or page 1 of
27   the "Supplemental Information"; see page 17 or page 12 of the "Supplemental
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     Information," Point No.1; see pages 21-22 or pages 16-17 of the "Supplemental
 2 Information," Point No.1); (d) that a Person of Ordinary Skill in the Art "as of
 3 September 2007" would have regarded stimulant drugs (as used to treat Attention
4 Deficit Hyperactivity Disorder), especially lisdexamfetamine dimesylate, to have a
 5 reasonable expectation of success (including safety) in treating Obesity, such that it
 6 would have been obvious to use a stimulant drug (especially lisdexamfetamine
 7 dimesylate) for the treatment of Obesity with a reasonable expectation of success, as
 8 explained for its falsity in Exhibits 4,5,6 and 7 though particularly in Exhibit 4 (see
 9 pages 10-13), Exhibit 5 (see pages 1-20), Exhibit 6 (see pages 1-10), Exhibit 7 (see page
10   6 or page 1 of the "Supplemental Information"; see page 17 or page 12 of the
11   "Supplemental Information," Point No.1; see pages 21-22 or pages 16-17 of the
12   "Supplemental Information," Point No.1); (e) that a Person of Ordinary Skill in the Art
13   "as of September 2007" would have regarded lisdexamfetamine dimesylate as an
14   acceptable "anti-obesity agent," as to regard the use of lisdexamfetamine dimesylate for
15   the treatment of Obesity as an acceptable medical treatment, as explained for its falsity
16 in Exhibits 4, 5, 6 and 7 though particularly in Exhibit 4 (see pages 10-13), Exhibit 5
17   (see pages 1-20), Exhibit 6 (see pages 1-10), Exhibit 7 (see page 6 or page 1 of the
18   "S upplemental Information"; see page 17 or page 12 of the "Supplemental
19   Information," Point No.1; see pages 21-22 or pages 16-17 of the "Supplemental
20   Information," Point No. I); (f) that the invention which claims methods to treat Binge
21   Eating Disorder as defined in the DSM IV-TR with the drug lisdexamfetamine
22   dimesylate would have been obvious to a Person of Ordinary Skill in the Art "as of
23   September 2007," as characterized for its falsity in Exhibits 4,5,6 and 7, though
24   particularly on pages 17-27 of Exhibit 6; and (g) that the invention which claims
25   methods to treat Binge Eating Disorder as defined in the DSM IV -TR with the drug
26   lisdexamfetamine dimesylate would have been regarded to have a reasonable
27   expectation of success (including safety) to a Person of Ordinary Skill in the Art "as of
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     September 2007," such that it would have been obvious to use a stimulant drug (such as
 2 lisdexamfetamine dimesylate) for the treatment of Binge Eating Disorder as defined in
 3 the DSM-IV-TR with a reasonable expectation of success, as characterized for its falsity
4    in Exhibits 4, 5, 6 and 7, though particularly on pages 17-27 of Exhibit 6.
 5          13.    Defendant made numerous false representations regarding the "line of
 6 reasoning" of a POSA as of September 13, 2007 in his three core arguments to allege
 7 the obviousness of the patent's three independent claims (claim Nos. 1,8 and 13; see p.
 8   15 of Exhibit 1 attached hereto). These three core arguments are referred to, in both the
 9 Petition and Declaration, as the Grounds 1,4 and 7 arguments (for Petition, see Exhibit
10 2 - Ground 1 on pages 23-28, Ground 4 on pages 36-42, Ground 7 on pages 49-54; for
11   Declaration see Exhibit 3 - Ground 1 on pages 39-42, Ground 4 on pages 49-55, Ground
12   7 on pages 62-67). The nature and extent of these false representations are more
13   specifically characterized below (i.e., paragraphs 14, 15, 16 and 17). Importantly, the
14   Patent Board dismissed Defendant's Ground 1 line of reasoning but accepted his
15   Ground 4 and Ground 7 line of reasoning to support its decision to institute the Inter
16 Partes Review trial that led to the invalidation of all the patent's claims.
17          14.   More specifically with respect to the allegations made in Paragraph 13,
18   Defendant Brewerton egregiously misrepresented the line of reasoning of a POSA as of
19   September 13, 2007 for the "Ground 1 line of reasoning," in particular how a POSA
20   would have relied on Mickle's U.S. Patent Application No. 2007/0042955 "Abuse
21   Resistant Amphetamine Prodrugs," most notably on one sentence within its disclosures,
22   to reason that lisdexamfetamine dimesylate was an acceptable and reasonably successful
23   "anti-obesity agent" for clinical use in the pharmacologic treatment of obesity, as to
24   therefore have been regarded by a PO SA as of September 13, 2007 to be an acceptable
25   and reasonably successful drug in the treatment of Binge Eating Disorder as defined in
26   the DSM-IV-TR which is a disorder associated (though not clinically defined) with
27   clinical obesity, as represented in his Declaration by the following line of reasoning,
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 1   "Because of the success of these [d-fenfluramine and sibutramine] centrally acting anti­
 2   obesity agents in the treatment of BED [per Appolinario], a PO SA would have had a

 3   reasonable expectation of success that other centrally acting anti-obesity agents would
4    similarly reduce binge eating behavior" (Exhibit 3, p. 40-41)..... "As a result, a PO SA
 5   would have been motivated to identify another centrally acting anti-obesity agent with
 6   positive properties, such as LDX-dimesylate as described by Mickle." (Exhibit 3, p.
 7   41).... "Mickle teaches amphetamine prodrugs, such as LDX-dimesylate, that are
 8   indicated for the treatment of certain disorders, including obesity. .. In fact, obesity is
 9   identified as a preferred indication ....." (Exhibit 3, p. 41-42) .... "In light of the
10   teachings of Appolinario together with Mickle, a POSA would have diagnosed BED
11   according to the DSM-IV-TR and would have had a reasonable expectation of success
12   in treating BED with LDX-dimesylate." (Exhibit 3., p. 42) .... "Thus, it is my opinion
13   that... claim 1 would have been obvious over the combination of Appolinario and
14   Mickle ....claim 8 would have been obvious over the combination of Appolinario and
15   Mickle for the same reasons that Claim 1 would have been obvious ....claim 13 would
16   have been obvious over the combination of Appolinario and Mickle for the same
17   reasons that claim 1 would have been obvious over the combination of Appolinario and

18   Mickle." (Exhibit 3, pages 42, 45, 47). An explanation for the extent and egregiousness
19   of this misrepresented "Ground 1 POSA line of reasoning" can be found on pages 10-13
20   of Exhibit 4, but is also characterized in Exhibit 5 (see pages 1-20), Exhibit 6 (see pages
21   1-10), and Exhibit 7 (see page 6 or page 1 of the "Supplemental Information"; see page
22   17 or page 12 of the "Supplemental Information," Point No.1; see pages 21-22 or pages
23   16-17 of the "Supplemental Information," Point No.1).
24          15.    More specifically with respect to the allegations made in Paragraph 13,
25   Defendant Brewerton egregiously misrepresented the line of reasoning of a POSA as of
26   September 13,2007 for the "Ground 41ine of reasoning," in particular how a POSA as
27   of September 13,2007 would have relied on a study from 1983 (Ong), which involved a
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 lone-time dose of intravenous (IV) methylamphetamine to experimentally treat
 2 patients with Bulimia Nervosa, to reason to the "obviousness" and "reasonable
 3 expectation of success" of lisdexamfetamine dimesylate to treat Binge Eating Disorder
 4 as defined in the DSM-IV-TR, as represented in his Declaration by the following line of
 5 reasoning, "A POSA would have known that the symptom of bulimia as studied in Ong
 6 closely resembles the symptom of binge eating described in the DSM-IV-TR for both
 7 BN and BED" (Exhibit 4, p. 50) .... "Therefore, a POSA reading Ong and the DSM-IV­
 8 TR would have learned to treat BED by diagnosing the patient and administering [a one­
 9 time dose of intravenous] methylamphetamine to the patient. And based upon the
10   teachings of Ong and the DSM -IV-TR, a POSA would have had a reasonable
11   expectation of success of treating BED with [a one-time dose of intravenous]
12   methylamphetamine used in Ong." (Exhibit 4, p. 52) ... "Yet, a POSA would have also
13   recognized from Ong that 'drugs with stimulant and euphoric effects carry the dangers
14 of drug dependence and drug induced psychosis ... ' Such a warning would have led and
15   motivated the POSA to seek an alternative stimulant that could provide similar
16 properties as [a one-time dose of intravenous] methylamphetamine given its success as a
17 treatment in Ong." (Exhibit 4, p. 52)...."A POSA would have been motivated to replace
18   [the one-time dose of intravenous] methyl amphetamine as disclosed in Ong with [oral]
19   LDX dimesylate of Mickle. As noted above, Ong cautions about the dangers of
20   dependence and drug-induced psychosis for drugs with stimulant and euphoric effects,
21   with LDX dimesylate designed to exhibit reduced euphoric effects associated with
22   abuse. Further, a POSA would have expected that LDX dimesylate would have the
23   same pharmacological effects as [a one-time dose of intravenous]
24   methylamphetamine...." (Exhibit 3, p. 54) .... "Therefore, based on the disclosures of
25   Mickle, a POSA would have had a reasonable expectation of successfully treating BED
26   by replacing [a one-time dose of intravenous] methylamphetamine with LDX
27   dimesylate...." (Exhibit 3, p. 55) ...."In light of the teachings ofOng together with
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     DSM-IV-TR and Mickle, a POSA would have diagnosed BED according to the DSM­
 2 IV-TR and would have had a reasonable expectation of success of treating BED with
 3   LDX dimesylate."(Exhibit 3, p. 55) ...."Thus, ... it is my opinion that ....claim I would
4 have been obvious over the combination ofOng together with DSM-IV-TR and Mickle
 5   .....claim 8 would have been obvious over the combination ofOng, DSM-IV-TR, and
 6   Mickle for the same reasons that Claim I would have been obvious ....claim 13 would
 7 have been obvious over the combination of Ong, DSM -IV -TR, and Mickle for the same
 8 reasons that claim 1 would have been obvious ...." (Exhibit 3, pages 55, 58, 60). An
 9 explanation for the extent and egregiousness of this misrepresented "POSA Ground 4
10 line of reasoning" can be found, in particular, on pages 42-46 of Exhibit 4 in the section
11   titled "EXAMPLE 6. 'Clinical data from a one-time IV injection of an amphetamine-
12   based drug in Bulimia Nervosa patients would lead an MD/psychiatrist to conclude
13   LDX dimesylate's 'reasonable expectation of success' for the treatment of BED
14   patients."
15          16.    More specifically with respect to the allegations made in Paragraph 13,
16   Defendant Brewerton egregiously misrepresented the line of reasoning of a PO SA as of
17   September 13, 2007 for the "Ground 7 line of reasoning," in particular how a POSA as
18   of September 13,2007 would have relied on an experimental study involving co-morbid
19   ADHD and Bulimia Nervosa patients from 2005 (Dukarm) involving the use of d-
20   amphetamine, to reason to the "obviousness" and "reasonable expectation of success" of
21   lisdexamfetamine dimesylate to treat Binge Eating Disorder as defined in the DSM-IV­
22   TR, as represented in his Declaration by the following line of reasoning, "As previously
23   discussed, an essential feature of both BN and BED in DSM-IV-TR is 'recurrent
24 • episodes of binge eating' ....According to the DSM-IV-TR a 'recurrent episode of binge
25   eating' in BED is the same as a 'recurrent episode of binge eating in BN." (Exhibit 3, p.
26   63).... "Thus, it would have been clear to a POSA that the characteristics of the binge
27   eating episodes in BED are essentially the same as those in BN." (Exhibit 3, p.
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     64)..... "Based on the teachings of the DSM-IV-TR, it is my opinion that the binge
2 eating ofBN is the same as the binge eating of BED." (Exhibit 3, p. 65) ..... " ....given
3    the evidence of Dukharm demonstrating that d-amphetamine was successful in
4    eliminating the binge eating in patients with BN, a POSA would have had a reasonable
 5   expectation of success in treating with BED with d-amphetamine." (Exhibit 3, p.
6    65) ..... "A POSA would have been motivated to replace d-amphetamine as disclosed in
 7 Dukarm [to treat co-morbid ADHD and Bulimia Nervosa patients] with LDX
 8 dimesylate for the treatment of BED" (Exhibit 3, p. 66) ..... "In light of the teachings of
 9 Dukarm together with the DSM-IV-TR and Mickle, a POSA would have diagnosed
lOBED according to the DSM-IV -TR and would have had a reasonable expectation of
II   success of treating BED with LDX dimesylate." (Exhibit 3, p. 66-67) ..... "Thus, ... it is
12   my opinion that. ... claim 1 would have been obvious over the combination of Dukarm
13    together with DSM-IV -TR and Mickle .....claim 8 would have been obvious over the
14   combination of Dukam, DSM-IV-TR, and Mickle for the same reasons that Claim 1
15    would have been obvious ..... claim 13 would have been obvious over the combination of
16 Dukarm, DSM-IV-TR, and Mickle for the same reasons that claim 1 would have been
17    obvious...." (Exhibit 3, pages 62, 69-70, 71). An explanation for the extent and
18    egregiousness of this misrepresented "POSA Ground 7 line of reasoning" can be found
19    in Paragraph 10 above.
20        17.   The extent and egregiousness of Defendant's misrepresented "POSA Ground 7
21    line of reasoning" is also succinctly characterized for its misleading and misrepresented
22    nature in view of Surman's 2006 publication that unambiguously characterizes the state
23    of the art of treating Bulimia Nervosa in 2006 as follows (bold emphasis added),
24    "Considering that ADHD and Bulimia Nervosa respond to different pharmacologic
25    treatments, diagnosing ADHD in subjects with bulimia nervosa could lead to new
26    therapeutic opportunities to this debilitating and life-threating disorder" (p. 2, Exhibit 8)
27    and "Since bulimia nervosa and ADHD require different pharmacologic
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 1 approaches, clinical evaluations of women with bulimia nervosa may benefit from
2 systematic identification of ADHD and vice versa" (p. 3, Exhibit 8). In other words,
 3 stimulant drugs (as a well-known mainstay treatment for ADHD) clearly would not have
4 been regarded by the psychiatric community (i.e., POSA's, as defined above) to be an
 5 acceptable, and thus reasonably successful, pharmacologic treatment of Bulimia
 6 Nervosa at the time of the invention's priority date in September 2007. Rather, their use
 7 to treat Bulimia Nervosa would have been discouraged, except perhaps in such instances
 8 where the stimulant was being used in patients with co-morbid ADHD and Bulimia
 9 Nervosa. So when the Defendant represents that (bold emphasis added) "it is my
10 opinion that given the overlapping symptom of binge eating in BN and BED described
11    in the DSM-IV-TR, together with extensive data demonstrating the successful use of
12 psychostimulants in the treatment of binge eating described in Dukarm [which featured
13   co-morbid Bulimia Nervosa and ADHD patients], a POSA would have had a reasonable
14 expectation of success in extending the teachings ofDukarm to the treatment of BED
15    [with a stimulant]" (p. 84, Exhibit 3), he is egregiously misrepresenting and
16 miscontextualizing the most critical point of Dukarm' s -- and also Surman's -- studies
17    that relate to patients with co-morbid Bulimia Nervosa and ADHD or ADHD-like
18    symptoms in which the rationale for using a stimulant is foremost to treat the ADHD
19    symptoms (and without ADHD symptoms, a stimulant to treat Bulimia Nervosa would
20    have been ill-advised and discouraged at the time of the invention). The fraudulent
21    nature of the Defendant's "Ground 7 line of reasoning" is made evident in view of how
22    the same exact cases that the Defendant represents as "extensive data" involving the
23    use of stimulants to treat Bulimia Nervosa are represented by Surman, in the peer-
24 reviewed Journal of Clinical Psychiatry, as "scant reports in the medial literature of
25    adults suffering from both ADHD-like symptoms and bulimia nervosa" (p. 2, Exhibit
26    8). Moreover, the significance of these cases is that they show a putative link between
27   ADHD and Bulimia Nervosa which, in fact, Surman found in his study with
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 1 "significantly greater rates of bulimia nervosa were identified in women with versus
2 without ADHD (12% vs. 3%)" (p. 1, Exhibit 8, see "Results"). In this respect,
 3 Defendant was motivated to use misrepresented context to deceive the Patent Board into
4 perceiving the medical literature one way (i.e., that stimulants were well-regarded as
 5   acceptable and reasonably successful treatments of Bulimia Nervosa based on
 6 "extensive data") when its true reality in the medical literature was the diametric
 7 opposite (Le., that there were "scant case reports in the medial literature of adults
 8    suffering from both ADHD-like symptoms and bulimia nervosa" which showed that
 9 stimulants seemed to help not only ADHD symptoms but also Bulimia Nervosa
10    symptoms such as binge eating in these scant reports thus suggesting a possible
11    association/risk between these two disorders). Thus, it would appear that the Defendant
12 plagiarized these case "scant case reports" to allege the obviousness of the patent's
13    claims, except that the act of plagiarism did not involve actually copying them in their
14 proper medical context but, rather, profoundly misrepresenting their context, as if these
15    "scant reports" were long-recognized and well-regarded in the psychiatric community
16 and among POSA's "as extensive data" to support treatment of Bulimia Nervosa with
17    stimulant drugs (as used to treat ADHD). It is not surprising, therefore, that the
18    Defendant did not cite or include Surman's publication in his Declaration, as it would
19    have completely undermined and refuted his Declaration testimony, as well as
20    "sourced" his deceptive testimony.
21       18. The Defendant repeatedly and egregiously contradicted relevant and important
22    material regarding the treatment of eating disorders from his own published work, but
23    failed to disclose that published work to the Patent Board, as profiled and explained on
24    pages 20-26 of Exhibit 4 in the section titled "Example 3: Self-Contradictory
25    Representations in view of the Declarant's own Prior Representations." The Defendant
26 also negligently failed to disclose materially relevant and important teachings from his
27    own prior work related to the patent's claims, which involve a "therapeutically effective
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     amount" oflisdexamfetamine dimesylate to treat Binge Eating Disorder as defined in
2 the DSM-IV-TR. For instance, one of the most relevant and important published works
3 in the art of eating disorders that could have helped the Patent Board understand how a
4     POSA as of September 13,2007 would have regarded the pharmacological treatment of
 5    "Binge Eating Disorder as defined in the DSM-IV-TR" (as featured in the patent's
 6 claims) would have been an article Defendant Brewerton published in 2004 in
 7    "Psychiatry Times" titled "Pharmacotherapy for Patients with Eating Disorders" (see
 8 Exhibit 11 attached hereto). The publication identifies acceptable and reasonably
 9 successful pharmacologic treatments for Anorexia Nervosa, Bulimia Nervosa and Binge
10    Eating Disorder. The latter section, on BED, would have been directly and materially
11    relevant to how a POSA in September 2007 would have regarded acceptable and
12    reasonable successful pharmacologic treatments of Binge Eating Disorder as defined in
13    the DSM-IV-TR (as featured in the patent's claims). For example, of the numerous
14    studies identified for the appropriate pharmacologic treatment of Binge Eating Disorder
15    (according to DSM-IV/IV-TR criteria) in Defendant Brewerton's 2004 publication,
16 which Defendant concealed from the Patent Board, not a single one of them involved a
17    stimulant (as used to treat ADHD). Nor was a stimulant referenced in any of the studies
18    cited in Defendant Brewerton's 2004 publication to provide evidence that stimulants (as
19    used to treat ADHD) might be an acceptable and reasonably successful treatment class
20    of drugs for Bulimia Nervosa, further supporting the allegation for fraud.
2]           19.    Further, the Defendant failed to cite or include a textbook he exclusively
22    edited, titled "Clinical Handbook of Eating Disorders" published in 2004, that
23    extensively addressed acceptable and successful pharmacotherapies for eating disorders,
24    including Bulimia Nervosa and Binge Eating Disorder (see Exhibit 12 attached hereto
25    for book's table of contents and Chapters 11 and 21). More specifically, Chapter 21 of
26    the Defendant's exclusively edited book, titled "Psychopharmacology of Anorexia
27    Nervosa, Bulimia Nervosa and Binge Eating Disorder" and which nicely captures the
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 1 eating disorder "state of the art" shortly before the invention's priority date, nowhere
2 identifies stimulants (as used to treat ADHD) as acceptable or successful
3 pharmacotherapy for any eating disorder (see pp. 30-49 of Exhibit 12). Defendant
4 willfully omitted disclosure of these highly relevant and important 2004 references to
 5 the Patent Board because it would have completely belied his testimony alleging the
6 obviousness of the '813 Patent's claims to treat Binge Eating Disorder as defined in the
 7    DSM-IV-TR with the stimulant drug lisdexamfetamine dimesylate. Rather, had
 8 Defendant disclosed his 2004 publications and their implications to the Patent Board, it
 9 would have supported the non-obviousness and validity of the patent, as well as exposed
loa pervasive pattern of extremely negligent, deceptive and misconextualized
11   representations involving the medical literature in his Declaration.
12           20.    The Defendant's 2004 publication "Pharmacotherapy for Patients with
13    Eating Disorders" and his exclusively edited book "Clinical Handbook of Eating
14 Disorders," which were omitted from his Declaration and therefore concealed from the
15    Patent Board, were also highly relevant and important to his Declaration representations
16 regarding, as stated in his own words (in his Declaration), (i) "the successful use of
17    psychostimulants in the treatment ofBN [Bulimia Nervosa] .... " (see Exhibit 3, page
18    83), (ii) "over two decades of prior pUblications reported on the successful use of
19 psychostimulants in the treatment of bulimic episodes in BN patients ...." (see Exhibit 3,
20 page 84), (iii) "At least since the early 1980's, studies have shown psychostimulants to
21    be successful in treating the binge eating symptom ofBN" (see page 99, Exhibit 3).
22    This is because in those two 2004 works, there is no evidence whatsoever to support that
23    stimulants (as used to treat ADHD) were acceptable and reasonably successful drugs in
24    treating Bulimia Nervosa or the symptom of binge eating in Bulimia Nervosa (absent
25    their use to treat ADHD for which they are clinically indicated); rather, the Defendant's
26    own published and edited work from 2004 supports the conclusion that stimulants (as
27    used to treat ADHD) would not have been regarded as acceptable and reasonably
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     successful drugs in treating Bulimia Nervosa or the symptom of binge eating in Bulimia
2 Nervosa (absent their use to treat ADHD for which they are clinically indicated).
3           21.    The Defendant's egregious misrepresentation and miscontextualization of
4    the medical literature is only underscored by the fact that he cited the 2006 APA
 5 (American Psychiatric Association) treatment guidelines for Bulimia Nervosa in his
 6 Declaration (see Exhibit 3, page 14, Exhibit No. 1031) but he omitted from his
 7 Declaration testimony the most materially relevant and important clinical teaching in
 8 those guidelines with respect to the use of stimulants in the treatment of Bulimia
 9 Nervosa or binge eating in Bulimia Nervosa, namely, that (bold emphasis and
10 parenthetical comments added) "several case reports [not extensive data] indicate that
11    methylphenidate [a stimulant as used to treat ADHD] may be helpful for bulimia
12    nervosa patients with concurrent ADHD" (see Exhibit 13, page 54) and "Case reports
13    indicate that methylphenidate [a stimulant as used to treat ADHD] may be helpful for
14 bulimia nervosa patients with concurrent attention-deficit/hyperactivity disorder
15    (ADHD) [III], but it should be used only for patients who have a very clear
16    diagnosis of ADHD [I]" (see Exhibit 13, page 20).
17           22.    In this regard, the Defendant's misrepresentation and miscontextualization
18    on the use of stimulants to treat Bulimia Nervosa based on "extensive data" seriously
19    misled the Patent Board into thinking that stimulants were both a well-accepted and
20    well-studied treatment modality, as wen as a reasonably successful one, for Bulimia
21    Nervosa, and therefore would have been "obvious" to use by a PO SA as of September
22    2007 to treat Bulimia Nervosa (not ADHD) in its own right. Thus, when Defendant
23    represents that "Because it was well-established at the time of the invention that the
24    binge eating symptom of BN and BED is the same, a POSA would have had a
25 i reasonable expectation of effectively treating the binge eating of BED with a
26    psychostimulant" (Exhibit 3, page 99), he egregiously misrepresents how the medical
27    literature would have been understood by a PO SA for its "obviousness" and "reasonable
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     expectation of success," by his own standard of interpretation and teaching no less
2 which clearly located stimulants for Bulimia Nervosa as irrelevant, non-existent and/or
3 obscure based on his own extensive surveys of the medical literature in 2004, one he
4    exclusively authored and the other he exclusively edited. More than that, he
 5 contemptuously disregards the DSM-defined clinical context in which binge eating is
 6 clinically present (i.e., BED vs. BN), as if it too is irrelevant, non-existent and/or
 7 obscure, even as the patent's claims specifically and unambiguously recite that the use
 8 of lisdexamfetamine is for the treatment of Binge Eating Disorder as defined in the
 9 DSM-IV-TR (not "binge eating" generically).
10           23.    Defendant Brewerton's 2004 publications, made to a community of
11    "Persons of Ordinary Skill in the Art" (one vis-Ii-vis Psychiatry Times and the other in a
12    "clinical handbook"), makes it evident that he, as well as those POSA's interested in
13    treating the disorder known as "Binge Eating Disorder as defined in the DSM-IV-TR"
14    (as recited in the patent's claims), would have regarded the clinical context of the non­
15    specific symptom of "binge eating" (including its co-morbidity with another disorder,
16    like ADHD) as highly relevant and important in determining an acceptable and
17    reasonably successful pharmacologic treatment, much as Surman does in his analysis
18    (per paragraph 10 above) or as the 2006 APA treatment guidelines for Bulimia Nervosa
19    do (as noted above in paragraph 21). Defendant Brewerton's 2004 publications make
20    self-evident that a POSA would have relied on evidence to support the treatment of non­
21    specific symptoms in their proper DSM-defined clinical context, as clearly featured in
22    U.S. Patent No. 8,318,813 's thirteen claims that, by method, diagnostically differentiate
23    binge eating in Bulimia Nervosa from binge eating in BED, as well as from binge eating
24    in Anorexia Nervosa. Again, Defendant willfully omitted disclosure of these highly
25 •relevant and important 2004 "self-written or self-edited" references to the Patent Board
26    because they would have completely belied his testimony alleging the obviousness of
27    the '813 Patent's claims to treat Binge Eating Disorder as defined in the DSM-IV-TR
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      with the stimulant drug lisdexamfetamine dimesylate and thus would have exposed the
 2 misleading and deceptive nature of his testimony. Its disclosure would also have
3 demonstrated the non-obviousness and validity of the patent's claims.
4            24.   Based on the totality of the evidence above, Defendant Brewerton
 5 misrepresented the final statement of his Declaration that states (see p. 100,
 6 Exhibit 3, paragraph 191), "I hereby declare that all statements made herein are of my
 7 own knowledge are true and that all statements made on information and belief are
 8 believed to be true; and further that these statements were made with the knowledge that
 9 willful false statement and the like so made are punishable by fine or imprisonment, or
10 both, under Section 1001 of Title of the United States Code." His statements could not
11    be true in view of his own consideration and analysis of the medical literature to his
12    peers through published work which he failed to disclose to the Patent Board, as wen as
13    in view of acceptable standards for the treatment of eating disorders laid out by the
14    American Psychiatric Association one year before the invention's priority date (Exhibit
15    13).
16           25. Defendant knew and was aware of the falsity of these misrepresentations, or
17    at the very least, had a reckless disregard for their truth or falsity. Defendant intended
18    that the misrepresentations be material and be acted upon by third-parties, and the
19    United States Patent Office's Patent Trial & Appeal Board did rely on the presumed
20    accuracy of Defendant's misrepresentations in granting an Inter Partes Review trial, on
21    which it later declared invalid U.S. Patent No. 8,318,813, which claimed exclusive
22    rights to Plaintiff's valuable inventions that were last owned by a company in which
23 I Plaintiff is a Manager and Member, Lucerne Biosciences, LLC, and last exclusively
24    licensed by Lucerne Biosciences, LLC to LCS Group, LLC, a company in which
25    Plaintiff is CEO and Member.
26           26. The United States Patent Office's Patent Trial & Appeal Board was 

27    ignorant of the falsity of Defendant's misrepresentations because it possessed 

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     insufficient expertise in the area of eating disorders, obesity and stimulant drugs to
2 reasonably question Defendant's expertise and discover that Defendant's
3 misrepresentations were false and intended to deceive. Because Defendant Brewerton
4    was presented as an expert on the matters at issue, the United States Patent Office had a
 5 right to rely on Defendant's misrepresentations.
6            27. Defendant's misrepresentations have proximately caused substantial damage
 7 to Plaintiff, in an amount much greater than $75,000. Specifically, Plaintiff estimates
 8 that he has suffered in excess of $300 Million ($300,000,000) in damages, based on the
 9    fact that the U.S. patent he solely invented, which was last owned by a company in
10    which he served as Manager and Member (Lucerne Biosciences, LLC) that itself
11    exclusively licensed the patent to a company in which he was CEO and Member (LCS
12    Group, LLC), encompassed method claims (i.e., Iisdexamfetamine dimesyslate for the
13    treatment of Binge Eating Disorder as defined in the DSM-IV-TR) for an indication
14    approved by the Food & Drug Administration based on Phase III Clinical Trials in
15    patients with Binge Eating Disorder as defined in the DSM-IV-TR (in January 2015)
16    whose estimated market value to the pharmaceutical company marketing the drug for
17    the indication, Shire US Inc., has been valued in the range of $200-$750 Million in
18    revenues annually. As weighted over the duration of time that the patent would have
19    otherwise been valid and infringed over its lifetime to 2028, this amounts to $2 to $8
20    Billion, or more, aggregately in revenues to Shire from 2015 to 2028. References
21    alluding to annual revenues expected to Shire, including from Shire's CEO Dr.
22    Flemming Omskov and "Wall Street analysts," can be found in Exhibits 14,15, and 16
23    attached hereto.
24

25                       SECOND CLAIM FOR RELIEF-DEFAMATION
26           28.    Plaintiff re-alleges all prior paragraphs of this Complaint and incorporates
27    them herein by reference.
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            29.     Defendant's misrepresentations alleged herein were false and defamatory
2 statements, published to third parties, and non-privileged.

3            30.    Defendant is at fault because he knew and was aware of the falsity of
4 his misrepresentations, or at the very least, had a reckless disregard for their truth or
 5 falsity. Further, he persisted in his efforts to continue supporting his misrepresentations
6 and miscontextualization to invalidate U.S. Patent No. 8,318,813, even when made
 7 aware of his misrepresentations and miscontextualization through evidence-based
 8 profiling efforts that included his own published work which he concealed from the
 9 Patent Board, as characterized in the communications transcript comprising Exhibit 7.
10           31.     Defendant defamed the Plaintiff, an inventor, by publicly characterizing
11    the invention he invented as being merely "obvious" and as having a "reasonable
12    expectation of success" at the time of its invention, thus making it uninventive, despite
13    the fact that Defendant Brewerton himself made statements that supported the contrary
14 but which he failed to disclose to the Patent Trial & Appeal Board. In this regard, in
15    addition to the allegations stated above regarding how Defendant Brewerton failed to
16 disclose to the Patent Board materially relevant and important testimony he himself
17    published, he also stated in a publication he authored prior to the invention, titled
18    "Binge Eating Disorder: Recognition, Diagnosis and Treatment," that (bold emphasis
19    added) "There are no published reports on the use of psychostimulants in the
20    treatment of BED. Even though acutely administered stimulants suppress binge eating,
21    the risks of addiction and the possible induction of affective and psychotic
22    symptomatology make this agent class undesirable as a therapeutic tool" (see pages
23    20,38,45, 165, and 173 of Exhibit 4 for further explanation). Thus, by the Defendant's
24    own published standard by which to treat Binge Eating Disorder, the invention invented
25    by the Plaintiff related to the use of a psychostimulant to treat Binge Eating Disorder
26    was not only inventive, unorthodox and counter-intuitive but even radical and against
27    established medical guidance from eating disorder experts. Yet the Defendant failed to
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 1 disclose this publication and statement to the Patent Trial & Appeal Board for
2 consideration of the invention's novel, unorthodox and first-of-its-kind claimed methods
3 of treating Binge Eating Disorder as defined in the DSM-IV-TR (not "binge eating")
4 with a psychostimulant drug approved only, at the time of the invention's priority date
 5 of September 13,2007, for pediatric Attention Deficit Hyperactivity Disorder. Exhibits
 6 4, 5,6 and 7 collectively demonstrate that, at the time of the invention's priority date,
 7 there were still no documented case reports for the treatment of Binge Eating Disorder
 8 as defined in the DSM-IV-TR with a psychostimulant, except perhaps in such instances
 9 where BED was co-morbid with ADHD and the stimulant was used as a primary
10    treatment for ADHD, despite the fact that the criteria for Binge Eating Disorder as
1]    defined in the DSM-IV TR were in research and clinical usage for 13 years prior (as
12    defined by the same criteria in the DSM-IV from 1994-2000; see page I of Exhibit 6).
13    In this respect, the Plaintiff's invention stands as one of the most inventive and radical
14 inventions for the treatment of eating disorders in view of the medical literature on
15    treating Binge Eating Disorder, particularly in view Defendant Brewerton's 2004
16    publication "Pharmacotherapy for Patients with Eating Disorder" and his 2004 edited
17 "Psychopharmacology of Anorexia Nervosa, Bulimia Nervosa and Bing Eating
18    Disorder" which nowhere identify a single stimulant (as used to treat ADHD, like
19 lisdexamfetamine dimesylate) as an acceptable, reasonably successful treatment
20    modality for any eating disorder in which "binge eating" may be a central feature (i.e.,
2]    Bulimia Nervosa, Binge Eating Disorder, Anorexia Nervosa, binge eating/purging type).
22    However, as characterized above, Defendant failed to disclose these materially
23    important and relevant publications, too, to the Patent Board for consideration of the
24    invention's novel and inventive features, itself a form of misrepresentation by material
25    omission of relevant and important context for addressing the patent's claims that
26    specifically involved administering a therapeutically effective amount of stimulant drug
27    to treat Binge Eating Disorder as defined in the DSM-IV-TR.
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           32. The publication of Defendant's misrepresentations caused special harm to
2    Plaintiff, in an amount much greater than $75,000, as explained herein.

3

4                        THIRD CLAIM FOR RELIEF-NEGLIGENCE
 5           33.    Plaintiff re-alleges all prior paragraphs of this Complaint and incorporates
 6 them herein by reference.
 7           34.    Defendant owed the court and this Plaintiff a duty of due care in forming
 8 his opinions and submitting materials relevant to whether Defendant's invention, owned
 9 by companies in which he served management and membership roles during Shire's
10    Inter Partes Review proceeding (LCS Group, LLC first; then Lucerne Biosciences,
11    LLC), was "obvious" and had a "reasonable expectation of success" at the time of its
12    invention.
13           35.    Defendant breached this duty and was negligent, gross negligent, and/or
14    was reckless, willful, and wanton in making the representations alleged herein.
15           36.     Such representations as indicated herein were false and were relied upon
16    by the patent board and others in determining the subject issue at the Inter Partes
17    Review.
18           37.     Defendant is at fault, because he knew and was aware of the falsity of
19    his misrepresentations, or at the very least, had a reckless disregard for their truth or
20    falsity. Further, he persisted in his efforts to continue supporting his misrepresentations
21    and miscontextualization to invalidate U.S. Patent No. 8,318,813, even when made
22    aware of his misrepresentations and miscontextualization through evidence-based
23    profiling efforts that included his own published work which he concealed from the
24    Patent Board, as characterized in the communications transcript comprising Exhibit 7.
25           38.     Defendant was not subject to cross examination at the Inter Partes
26    Review, and, therefore Plaintiff had no opportunity to directly confront Defendant with
27    the falsity of his representations.
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 1          39.     Defendant's misrepresentations actually and proximately caused injuries
 2   and damages to Plaintiff as set forth herein in the Complaint, for which Defendant is
 3   responsible.

 4

 5

 6                                    PRAYER FOR RELIEF
 7          Therefore, Plaintiff prays for the following relief:
 8          A.      A determination that Defendant is liable to Plaintiff for fraud;
 9          B.      A determination that Defendant is liable to Plaintiff for defamation;
10          C.      A determination that Defendant is liable to Plaintiff for negligence;
11           D.     An accounting for damages, including but not limited to Plaintiff's losses,

12    exemplary and punitive damages, pre-judgment and post-judgment interest, costs and
13    attorney fees; and
14          E.      Such other and further relief as this Court deems just and proper.
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16

17                                       Respectfully submitted,
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19    Dated: January 18, 20 17     By:~,--_-y .~'-+r-.

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                                          Louis C. Sanfilippo, M.D.
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